         Case 2:21-cv-00143 Document 46 Filed on 04/25/22 in TXSD Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          April 25, 2022
                                                                                       Nathan Ochsner, Clerk

UNITED STATES DISTRICT COURT                                 SOUTHERN DISTRICT OF TEXAS




                                                §
Adan DeLeon                                     §
          Plaintiff,                            §
                                                §
versus                                          §                 Civil Action: 2:21-CV-00143
                                                §
                                                §
Nueces County, et al.                           §
          Defendants.                           §
                                                §


                                      Entry of Default

         It appears upon the representation of the plaintiff and from the record that the following
  defendant failed to plead or otherwise defend in this case as required by law:

                                       Bobby Joe Benavides

        Therefore, default is entered against the defendant as authorized by Federal Rule of Civil
  Procedure 55.



                                                      CLERK OF COURT


  DATED: April 25, 2022                       By:_______________________________
                                                    ______
                                                        _ ______________________
                                                    Deputy Clerk
